 1   GURINDER GREWAL, State Bar No. 277975
     JEREMY BLUMENFELD, pro hac vice forthcoming
 2   ABBEY GLENN, State Bar No. 267751
     ALLISON EGAN, pro hac vice forthcoming
 3   MORGAN, LEWIS & BOCKIUS LLP
     One Market, Spear Street Tower
 4   San Francisco CA 94105-1596
     Telephone: 415.442.1206
 5   Facsimile: 415.442.1001
     email: gurinder.grewal@morganlewis.com
 6          jeremy.blumenfeld@morganlewis.com

 7   Attorneys for Defendants
     SCHENKER, INC., ET AL.
 8
     JAMES CLARK, State Bar No. 278372
 9   RENEE ORTEGA, State Bar No. 283441
     TOWER LEGAL GROUP, P.C.
10   11335 Gold Express Drive, Ste. 105
     Gold River, CA 95670
11   Telephone: 916.361.6009
     Facsimile: 916.361.6019
12   email: james.clark@towerlegalgroup.com
            renee.parras@towerlegalgroup.com
13
     Attorneys for Plaintiff
14   DIEGO PARTIDA

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17

18   DIEGO PARTIDA, individually and as a             Case No. 4:22-cv-09192-HSG
     representative of a Putative Class of
19   Participants and Beneficiaries, on behalf of     ORDER EXTENDING TIME TO
     Schenker, Inc. 401(k) Savings and Investment     ANSWER OR OTHERWISE
20   Plan,                                            RESPOND TO PLAINTIFF’S
                                                      COMPLAINT
21                             Plaintiff,
                                                      Civil Local Rule 6-1(a); Civil Rule 6-2
22                  vs.

23   SCHENKER, INC., ET AL.,

24                             Defendants.

25

26

27

28                                                                  ORDER EXTENDING TIME TO
                                                             ANSWER OR OTHERWISE RESPOND TO
                                                                       PLAINTIFF’S COMPLAINT
                                                                     CASE NO. 4:22-CV-09192-HSG
 1   Pursuant to the parties’ Stipulated Motion, the below deadlines are extended as follows:

 2   a. Plaintiff’s pleading in response to Defendants’ motion to dismiss Plaintiff’s Complaint

 3      shall be due on May 1, 2023; and

 4   b. Defendants’ reply or response to Plaintiff’s responsive pleading shall be due on June
 5      1, 2023.

 6

 7   IT IS SO ORDERED.

 8

 9
10   Date: 1/24/2023                              ________________________________
                                                  HON. HAYWOOD S. GILLIAM, JR.
11                                                United States District Court Judge
12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28                                                        ORDER EXTENDING TIME TO ANSWER
                                                                 OR OTHERWISE RESPOND TO
                                              2                     PLAINTIFF’S COMPLAINT
                                                                  CASE NO. 4:22-CV-09192-HSG
